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                                                     Exhibit 8: U.S. Patent No. 9,179,147
Claims                 Identification
10[pre] A video        To the extent the preamble is limiting, Asus-branded devices implement a video encoder for encoding a video by obtaining
encoder for encoding   an optimal sequence of quantized coefficients for a block of transform residuals from the video.
a video by obtaining
an optimal sequence
of quantized
coefficients for a
block of transform
residuals from the
video, the video
encoder comprising:



                       Source: https://www.asus.com/us/laptops/for-creators/vivobook/vivobook-pro-16x-oled-k6604/




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Claims   Identification




         Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.




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Claims   Identification




         Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.




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Claims   Identification




         Source: HEVC Encoder Manual (https://github.com/listenlink/HM/blob/master/doc/software-manual.pdf), 1




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Claims   Identification




         Source: HEVC Encoder Manual, 12




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Claims               Identification
                     Source: Rate-distortion optimized quantization in HEVC: Performance Limitations
                     (https://www.researchgate.net/publication/279183792_Rate-
                     distortion_optimized_quantization_in_HEVC_Performance_limitations), 3.
10[a] a processor;   Asus-branded devices implement a video encoder comprising a processor.




                     Source: https://www.asus.com/us/laptops/for-creators/vivobook/vivobook-pro-16x-oled-k6604/




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Claims          Identification
                Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.




                Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.


10[b] memory;   Asus-branded devices implement a video encoder comprising a memory.




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Claims   Identification
         Source: https://www.asus.com/us/laptops/for-creators/vivobook/vivobook-pro-16x-oled-k6604/




         Source: https://www.asus.com/us/laptops/for-creators/vivobook/vivobook-pro-16x-oled-k6604/techspec/




         Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.




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Claims                 Identification




                       Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.
10[c] a video          Asus-branded devices implement a video encoder that comprises a video encoding application executable by the processor.
encoding application
executable by the
processor and which,
when executed,
configures the
processor to:




                                                                 Page 9 of 18
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Claims    Identification




          Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.




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Claims                 Identification




                       Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.

10[d] obtain a        Asus-branded devices implement a video encoder that comprises a video encoding application executable by the processor
sequence of quantized and which, when executed, configures the processor to obtain a sequence of quantized coefficients for the block of transform
coefficients for the  residuals.
block of transform
residuals;




                       Source: Rate-distortion optimized quantization in HEVC: Performance Limitations, 3.




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Claims                   Identification




                         Source: Rate-distortion optimized quantization in HEVC: Performance Limitations, 3.


10[e] calculate, for     Asus-branded devices implement a video encoder that comprises a video encoding application executable by the processor
the obtained             and which, when executed, configures the processor to calculate, for the obtained sequence, a rate-distortion cost based on a
sequence, a rate-        distortion cost and on a rate cost based on a context-adaptive entropy encoder, wherein the context-adaptive entropy encoder
distortion cost based    encodes each quantized coefficient by selecting at least one context from a plurality of contexts by determining an index for
on a distortion cost     a set of contexts based, at least in part, on a previous quantized coefficient in the sequence of quantized coefficients.
and on a rate cost
based on a context-
adaptive entropy
encoder, wherein the
context-adaptive
entropy encoder
encodes each
quantized coefficient
by selecting at least
one context from a
plurality of contexts
by determining an
index for a set of
contexts based, at
least in part, on a
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Claims                Identification
previous quantized
coefficient in the
sequence of quantized
coefficients; and




                      Source: Rate-distortion optimized quantization in HEVC: Performance Limitations, 4.




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Claims    Identification




          HEVC Specification (H.265), 14.




          Source: HEVC Specification (H.265), 203.




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Claims    Identification




          Source: Entropy Coding in HEVC, 4.




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Claims                 Identification




                       Source: Entropy Coding in HEVC, 6.

10[f] change a value Asus-branded devices implement a video encoder that comprises a video encoding application executable by the processor
of one of said          and which, when executed, configures the processor to change a value of one of said quantized coefficients of the obtained
quantized coefficients sequence to produce a new sequence of quantized coefficients, so that a resulting rate-distortion cost for the new sequence of
of the obtained         quantized coefficients is smaller than a rate-distortion cost for the obtained sequence.
sequence to produce a
new sequence of
quantized
coefficients, so that a
resulting rate-
distortion cost for the
new sequence of
quantized coefficients
is smaller than a rate-
distortion cost for the
obtained sequence.

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Claims    Identification




          Source: Rate-distortion optimized quantization in HEVC: Performance Limitations, 3.


          Asus-branded devices perform rate-distortion optimization. For example, the following depicts video frames with Psycho
          Visual tuning disabled (on the left) and Psycho Visual tuning enabled to enable rate-distortion optimization (on the right).




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Claims    Identification




           Quantized coefficients for HEVC encoded video with              Quantized coefficients for HEVC encoded video with
           Psycho Visual tuning disabled                                   Psycho Visual tuning enabled (to enable rate-distortion
                                                                           optimization)

          Source: Internal Testing of ASUS Vivobook Pro 16X OLED Laptop.

          After enabling the psycho-visual setting (to enable rate-distortion optimization), the magnitude of the quantized coefficient
          for some of the coefficients is decreased by 1 and/or reduced to 0. Compare the quantized coefficients in the green box with
          the quantized coefficients in the red box.

          The change in magnitude of the quantized coefficients when Psycho Visual Tuning is enabled indicates rate-distortion
          optimization.




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